     Case 1:18-cv-05391-SCJ Document 229 Filed 02/11/20 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et a\.,


   Plaintiffs,

                                                  CTVIL ACTION FILE
                                          I No. l:18-cv-5391-SCJ

BRAD RAFFENSPERGER, et at,

   Defendants.




                                     ORDER

      Upon its own motion, the Court ORDERS the following:

Defendants shall/ before 5:00pm on Thursday, February 13, provide the Court


with a list that includes

   • The names of each custodian from the Georgia Secretary of State's Office
      whose electronic documents have been searched in the discovery phase
       of the pending litigation;1
   • For each custodian/ the search terms that have been applied to their
       electronic documents;2 and



1 This includes custodians Defendants have agreed to search but are still in the
process of searching.

2 Plaintiffs' requests for production listed specific search terms to be applied to
different categories of custodians. The Court requires a record of each custodian
searched and the search terms applied to that custodian.

                                         1
Case 1:18-cv-05391-SCJ Document 229 Filed 02/11/20 Page 2 of 2




 The names of each custodian whose hard copy documents have been
 searched or are in the process of being searched.



 IT IS SO ORDERED this lW day of February/r,2020.
                                             2.uzu.




                                     /L^tUt. _ £._
                                 HONORABLE STEVfe C. JONES
                                 UNITED STATES DISTRICT JUDGE
